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                   IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

 BERKELEY VENTURES II, LLC,
                                                 CIVIL ACTION FILE NO.
      Plaintiff,                                    1:19-cv-05523-SDG

 v.

 SIONIC MOBILE CORPORATION and
 RONALD D. HERMAN,

      Defendants.


                    NON-SHARING PROTECTIVE ORDER

       To preserve and maintain the confidentiality of certain trade secrets

and confidential commercial and proprietary information and documents

produced in this action by the parties to this action, upon review of the

record, and for good cause shown,

       IT IS HEREBY ORDERED:

       1.     This Protective Order (this “Order”) shall govern and control the

production and disclosure of the information, documents and things (in each

instance and collectively, “Discovery Material”) produced in response to

interrogatories, requests for production or other written discovery or

subpoenas, that is disclosed through or during the course deposition, or that
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is otherwise disclosed in the course of the above-styled matter (this

“Litigation”), to the extent such Discovery Materials incorporate, state or

disclose any information, document or thing, or portion of any document or

thing that constitutes or contains: (a) trade secrets; (b) competitively

sensitive technical, marketing, financial, sales or other confidential business

information, whether or not that business information constitutes a trade

secret; (c) private or confidential personal information; (d) information

received in confidence from third Parties; or (e) a party believes subject to

protection under 18 U.S.C. § 1835, Fed. R. Civ. P. 26(c), and O.C.G.A. §§ 10-1-

762(c), 10-1-765. For purposes of this Order, the party seeking to protect

Discovery Materials under this Order is the “Designating Party.”

      2.    The Designating Party may designate Discovery Materials as

follows under this Order, which in each instance and collectively constitutes

“Confidential Information” subject to the protections of this Order:

            (a) “CONFIDENTIAL,” which means Discovery Material that

                 the Designating Party in good faith alleges to include,

                 although is not limited to, trade secrets, confidential

                 research, commercial information, development, business,

                 personal, technical, or other confidential or proprietary

                 information; or

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            (b) “ATTORNEYS’ EYES ONLY,” which means Discovery

                Material that the Designating Party in good faith alleges

                may either cause competitive harm to the Designating Party

                due to the commercially or technically sensitive nature of the

                Discovery Material or the Discovery Material containing

                trade secrets.

      3.    The Designating Party shall designate Discovery Material as

“CONFIDENTIAL” or “ATTORNEYS’ EYES ONLY” at the time of

production. The Designating Party’s failure, however, to designate Discovery

Material as “CONFIDENTIAL” or “ATTORNEYS’ EYES ONLY” at the time

of production shall not be deemed a waiver of its status as Confidential

Information by the Designating Party if the Designating Party promptly

designates Confidential Information as such upon becoming aware of its

erroneous omission of the appropriate confidentiality notice. Notice of

confidential designation shall be deemed received by a receiving party

pursuant to part 10 of this Order. A receiving party shall not be in contempt

of this Order by using the Designating Party’s Discovery Material in a

manner permitted by the Federal Rules of Civil Procedure, as duly modified

by the Local Rules and this Court’s Standing Order [Doc. 45] for the period

preceding the Designating Party’s designation of it as Confidential

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Information, although after receipt of notice from the Designating Party, the

receiving party shall undertake reasonable efforts to ensure compliance with

this Order for that Confidential Information.

      4.    To designate Discovery Material as Confidential Information

under this Order, the Designating Party shall do the following:

            (a) For Discovery Material produced in Documentary

                Form (apart from transcripts of depositions or other

                pretrial or trial proceedings), the Designating Party

                shall affix the confidentiality designation to each

                page that contains Confidential Information.

            (b) For Discovery Material produced in Non-

                Documentary Form, the Designating Party shall

                affix in a prominent place on the exterior of the

                container or medium (including external drive, CD,

                DVD, USB drive, or other device) in which the

                Confidential Information or item is stored, a proper

                confidentiality designation.

            (c) If a receiving party generates a “hard copy”

                transcription or printout of any Non-Documentary

                Form designated as confidential under part 4(b),

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         including, without limitation, in the form of a

         picture or screen capture, then the receiving party

         shall stamp each resulting page with the

         confidentiality designation given by the Designating

         Party.

     (d) The Designating Party may redact from Discovery

         Material information alleged as subject to the

         attorney-client privilege or work product doctrine,

         although only in a manner that renders the

         redactions apparent and obvious.

     (e) For depositions, if counsel for the Designating Party

         advocates for the designation of Confidential

         Information, then the Designating Party shall

         designate the portions of the transcript (including

         exhibits) alleged as confidential as follows:

          (i)   If reasonably feasible, the Designating Party’s

                counsel shall attempt to identify Confidential

                Information during the course of the

                deposition.




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           (ii)    The Designating Party’s counsel may further

                   designate Confidential Information by

                   notifying the court reporter and all opposing

                   counsel in writing of what constitutes

                   Confidential Information no later than 10

                   business days after counsel’s receipt of the

                   transcript. In the written notice, the

                   Designating Party’s counsel shall specify the

                   transcript page and line numbers containing

                   Confidential Information to be designated as

                   either “CONFIDENTIAL” or “ATTORNEYS’

                   EYES ONLY” so that the transcript and

                   designated portions of the transcript may be

                   marked accordingly.

           (iii)   The time requirements stated in part 4(d)(i),

                   (ii) of this Order shall not toll the time

                   requirements under O.C.G.A. § 9-11-30(e).

     (f)   For purposes of this part 4, the below terms have

           the following meanings:




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                  (i)   “Documentary Form” means Discovery

                        Materials that are produced in a printed or

                        other physical form; and

                 (ii)   “Non-Documentary Form” means Discovery

                        Materials that are produced in electronic

                        format, and that are not otherwise in

                        Documentary Form.

      5.    Confidential Information does not mean or include any Discovery

Material that: (a) is generally known to the public or to a person learned in

the applicable art through the application of ordinary skill and diligence; (b)

becomes generally known or available to the public without the fault of the

receiving party; (c) was in the possession of a receiving party on a non-

confidential basis before its disclosure or production in this matter; (d) has

been or becomes lawfully in the possession of a receiving party on a non-

confidential basis through means independent of the above-entitled action; or

(e) is acquired by the receiving party from a third party by means other than

Subpoena or discovery request in this matter, on a non-confidential basis,

provided that the receiving party does not know or have reason to know, and

is not informed subsequent to disclosure (including by the Designating Party)




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that such information was acquired by the third party under an obligation of

confidentiality.

      6.    This Order shall not restrict the use of non-confidential

information, including information satisfying the exclusions of part 5. Nor

shall anything in this Order prevent counsel for the Designating Party from

disclosing Confidential Information in printed form to a person who was the

author of that Confidential Information or was the designated recipient at or

about the time of that Confidential Information’s creation, although

disclosure under this sentence shall not affect the confidential status of that

information unless one of the exceptions of part 5 is first met and satisfied.

      7.    Confidential Information designated as “CONFIDENTIAL” may

be inspected by or disclosed to only the following “Qualified Persons”:

            (a) Parties to this Litigation and any officer, director, or

                   employee of a Party who is directly responsible for

                   assisting counsel in the Litigation, provided, however,

                   that no more than three individuals who are either an

                   officer, director, or employee of a Party, may be

                   permitted to review information designated

                   “CONFIDENTIAL” and such individuals must be




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         identified in writing to counsel for the Designating

         Party prior to any such disclosure;

     (b) Outside counsel for the Parties in this Litigation,

         including counsel for regular employees who are

         requested or required to provide assistance for

         purposes of discovery, preparation for trial, or

         appearances as witnesses at trial of this case as a part

         of their regular job duties;

     (c) Any expert retained or consulted by a Party for the

         purpose of obtaining that expert’s advice or opinion

         regarding issues in the Litigation, but only to the

         extent necessary for the expert to provide such advice

         or opinion and provided the expert has signed a

         Written Assurance in the form attached hereto as

         Exhibit A;

     (d) Witnesses who may testify in this Litigation, provided

         that the material disclosed is directly related to the

         subject of their anticipated testimony and provided the

         witness has signed a Written Assurance in the form

         attached hereto as Exhibit A;

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            (e) The Court and any personnel necessary to facilitate

                  the Litigation, including, but not limited to,

                  stenographic reporters and clerical and administrative

                  personnel; and

            (f)   Any other person who is designated a Qualified Person

                  by order of this Court or further written agreement of

                  The Designating Party.

      8.    Confidential Information designated as “ATTORNEYS’ EYES

ONLY” shall be inspected by or disclosed to only persons in parts 7(b), (c),

and (e) (collectively, the “Restricted Qualified Persons”) above. By agreement

of the Designating Party or Order of this Court, persons under part 7(f) may

also constitute “Restricted Qualified Persons.”

      9.    A receiving party shall use Confidential Information solely for

purposes of this Litigation and none other.

      10.   The Designating Party has the burden of proving that any

produced or disclosed document, information or testimony is reasonably and

in good faith designated as “CONFIDENTIAL” or “ATTORNEYS’ EYES

ONLY.” At any time after the receipt of the Confidential Information, counsel

for a receiving party may challenge the confidential designation of all or any




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portion of the Confidential Information by providing written notice to the

Designating Party’s counsel under the following procedures:

            (a) A Party objecting to the designation of a Discovery Material

                as Confidential Information (or more specifically as

                “CONFIDENTIAL” or “ATTORNEYS’ EYES ONLY”) shall

                notify the Designating Party’s counsel of the objection in

                writing, stating with specificity the Discovery Material or

                testimony believed to fall outside the scope of information

                subject to the classes of confidentiality treatment, and

                attempt to resolve the dispute. If the Parties are unable to

                reach an agreement regarding a confidentiality designation

                within 30 days of the Designating Party’s receipt of the

                written notice (the “Resolution Period”), then the

                Designating Party shall file a motion no later than 10

                business days following the end of the Resolution Period

                requesting a ruling from this Court as to whether the

                document, information, or testimony should be treated as

                Confidential Information, or more specifically as

                “CONFIDENTIAL” or “ATTORNEYS’ EYES ONLY.”




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            (b) If counsel for a receiving party believes that any

                 ATTORNEYS’ EYES ONLY material must be reviewed by a

                 party, including one or more designated representatives of

                 that party, then the receiving party’s counsel shall notify the

                 Designating Party’s counsel in writing, stating with

                 specificity which ATTORNEYS’ EYES ONLY material

                 should be reviewed, and by whom, and attempt to resolve the

                 dispute. Notice shall be deemed to be received by the

                 Designating Party pursuant to part 11 of this Order. If the

                 parties are unable to reach agreement regarding the

                 designation within 30 days of the Designating Party’s

                 counsel’s receipt of the notice, the Designating Party shall

                 file a motion no later than 14 days following the end of that

                 30-day period requesting a ruling from this Court as to

                 whether the ATTORNEYS’ EYES ONLY materials may be

                 reviewed by the party or representative thereof.

      11.   A written notice required under this Order shall be in writing

and deemed received (a) if the notice is delivered in person or (b) if the notice

is sent next day delivery by a nationally recognized carrier, including USPS,

FedEx or UPS, provided the notice is properly addressed and adequate

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postage has been applied and an email containing a valid tracking number

has been sent to receiving party’s counsel, delivery notification selected, in

each case as follows:

                    To Sionic Mobile Corporation:

                    Baker Jenner LLLP
                    Richard J. Baker, Esq.
                    Simon Jenner, Esq.
                    210 Interstate North Parkway SE, Suite 100
                    Atlanta, Georgia 30339
                    Email:      simon.jenner@bakerjenner.com
                                rick.baker@bakerjenner.com;

                    To Berkeley Ventures II, LLC:

                    Jason Brian Godwin
                    Godwin Law Group
                    3985 Steve Reynolds Boulevard
                    Building D
                    Norcross, Georgia 30093
                    Email: jgodwin@godwinlawgroup.com

        All notices required under this Order shall also be sent to the email

address of each counsel identified above, although doing so shall not waive or

compromise the obligation to further deliver notice in accordance with this

part.

        12.   If a receiving party seeks to file with this Court any Discovery

Material designated by the Designating Party as Confidential Information,

then the receiving party shall first consult with the Designating Party for its



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written permission to make the filing in a way that protects the information

covered by this Order (e.g., via use of redactions or filing partial documents).

If the Parties are unable to reach an agreement, the Party filing the

materials shall follow the then current procedure as set out in Rule 21.6(D) of

the Uniform Rules of the Superior Courts of the State of Georgia.

      13.   All Discovery Materials that are filed with this Court that

contain any portion of any Confidential Information shall be filed in a sealed

envelope or other appropriate sealed container, clearly stating the title of this

Litigation, and an indication of the nature of the contents of the sealed

envelope or other container, the phrase “Subject To Non-Sharing Protective

Order,” and a statement substantially in the following form: “This envelope

or container shall not be opened without order of the Court, except by officers

of the Court and counsel of record, who, after reviewing the contents, shall

return them to the clerk in a sealed envelope or container.” If a party fails to

so identify the Confidential Information, then the Designating Party may

move to have the Confidential Information sealed. The fact that a party fails

to seal and identify Confidential Information as required in this paragraph

shall not constitute a waiver by the Designating Party of the confidential

status.




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      14.   For purposes of this Order, “business day” means any day in

which Cobb County Superior Court conducts normal business operations.

      15.   Except for the Court and Court personnel under part 7(e), all

Qualified Persons and Restricted Qualified Persons shall execute Written

Assurances, attached to this Order as Exhibit A. Counsel for the parties shall

maintain copies of all executed Written Assurances. No person receiving

Confidential Information shall disclose it to any person other than those

described in parts 7 and 8 of this Order, and in no event shall any person

make any use or disclosure, other than for the purposes specified in this

Order, of Confidential Information disclosed or produced to him or her

pursuant to this Order.

      16.   If a receiving party is subject to a subpoena or other legal

compulsion requiring production of Confidential Information that a receiving

party has obtained under the terms of this Order, then to the extent not

prohibited by law, the receiving party shall promptly and no later than five

business days of receipt of the subpoena or other legal compulsion (but in no

event later than the mandatory time for production of such material or

information if sooner than that time) give written notice to counsel for the

Designating Party, identifying the Confidential Information sought and

enclosing a copy of the subpoena or other legal compulsion. The receiving

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party shall not produce the Confidential Information for at least 10 business

days (but in no event later than the mandatory time for production of such

material or information) after providing the required notice to the

Designating Party unless otherwise required by law to do so. The

Designating Party shall be solely responsible for asserting any objection to

the required production and obtaining all orders to quash or otherwise

prevent disclosure of Confidential Information. Nothing in this part shall be

construed as requiring the receiving party or anyone else covered by this

Order to challenge or appeal any order or obligation of production, subject

itself to penalties for noncompliance, or seek any relief from the court or

administrative agency, but the receiving party shall provide reasonable

cooperation with respect to any procedure to protect such information or

matter that is pursued by the Designating Party, unless prohibited by law. A

receiving party shall not be in violation of this Order if it produces only that

portion of the Designating Party’s Confidential Information which is

responsive to a subpoena or other legal compulsion if the Designating Party

has not obtained a protective order prohibiting production before the due date

for production.

      17.   All parties shall return all Confidential Information, including

hardcopies generated under part 4(c) of this Order, to the Designating Party

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within 45 days of the conclusion of this Litigation, or at the option of the

Designating Party, destroyed. If the Designating Party elects destruction,

then the receiving party shall certify in writing that Confidential Information

has been destroyed within 30 days of the destruction request. A receiving

party shall not be obligated to return or destroy the Designating Party’s

Confidential Information, or other databases or compilations of information

based on the Confidential Information, held, copied or maintained within

that receiving party’s email systems, electronic storage devices, services, or

backups (in each instance and collectively, “Electronic Systems”), although a

receiving party shall continue to treat all Confidential Information contained

in the receiving party’s Electronic Systems as Confidential Information under

this Order. Failure to request return or destruction of the Discovery Material

designated “CONFIDENTIAL” or “ATTORNEYS’ EYES ONLY” does not

alter the terms of this Order or the obligation of any receiving party to

maintain the confidentiality of the information contained in Confidential

Information. Further, a receiving party’s counsel may retain any material

counsel deems necessary to comply with receiving counsel’s professional

responsibilities to maintain a client’s file. Any information retained shall

remain Confidential Information as provided under this Order.




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      18.   If the Designating Party inadvertently discloses or produces any

Discovery Material that is privileged, non-responsive, or otherwise exempt

from disclosure or production in response to interrogatory or production

requests, it shall not constitute a waiver of any and all privileges applicable

to the Discovery Material disclosed or produced. The Designating Party shall

notify the receiving party in writing with specificity regarding the

inadvertent disclosure no later than five business days of discovery the

inadvertent disclosure. Once the written notice is delivered to the receiving

party, the receiving party must take steps to ensure inadvertently produced

or disclosed documents are not disclosed to any person or used for any reason

without prior approval and consent of the Designating Party.

      19.   Any party may seek to modify, expand, cancel or supersede this

Order by stipulation of the parties or by motion on notice, and the Court shall

give no weight to the terms of this Order in considering the proposed

amendment or other relief. Nothing in this Order shall:

            (a)   compromise this Court’s authority to make all final

                  determinations regarding the appropriateness the

                  Designating Party’s designation of Discovery Material as

                  Confidential Information, all such determinations being

                  expressly reserved for adjudication by this Court;

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            (b)    prejudice in any way the rights of the Designating Party to

                   object to the production of documents it considers not

                   subject to discovery;

            (c)    prejudice in any way the rights of the Designating Party to

                   seek a Court determination:

                  (i) whether particular Discovery Material shall be

                      produced, or

                  (ii) if produced, whether the Discovery Material

                      should be subject to the terms of this Order as

                      Confidential Information;

            (d)    prejudice in any way the rights of the Designating Party to

                   apply to the Court for a further protective order pertaining

                   to any Confidential Information;

            (e)    prejudice in any way the rights of the Designating Party to

                   seek relief from a provision of this Order; or

            (f)    prejudice in any way the right of the Designating Party to

                   object to the admissibility of any materials.

      20.   The terms of this Order shall cover any additional parties later

added to this Litigation unless upon further Order of the Court or by written

agreement of all parties, a newly added party is excluded from this Order.

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      21.   A party serving subpoenas in this Litigation, including upon non-

parties, shall provide a copy of this Order with each subpoena so the

producing party may comply with its terms. A party whose Confidential

Information may be included in any Discovery Material produced by a non-

party to this litigation, whether under Subpoena or otherwise, has the right

to review such Discovery Material so that it may include the appropriate

confidentiality designation under this Order.

      22.   This Order shall be effective immediately and shall survive the

conclusion of this Litigation. The Court shall retain jurisdiction to enforce the

terms of this Order for so long as it remains in force.

      SO ORDERED this 26th day of March 2021.



                                            _____________________________
                                            Honorable Steven D. Grimberg
                                            United States District Judge
                                            for the Northern District of Georgia




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Respectfully prepared and submitted by:

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                                  EXHIBIT A

                   IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

 BERKELEY VENTURES II, LLC,
                                                CIVIL ACTION FILE NO.
      Plaintiff,                                   1:19-cv-05523-SDG

 v.

 SIONIC MOBILE CORPORATION and
 RONALD D. HERMAN,

      Defendants.


            PROPOSED NON-SHARING PROTECTIVE ORDER

       AFFIDAVIT OF ________________________________________ (printed

name), being duly sworn and personally appearing before the undersigned

attesting officer, duly authorized by law to administer oaths, deposes and

says that the within statements are true and correct:

                                       1.

       I have read the Protective Order attached hereto, and I understand its

terms and meanings.

                                       2.

       I agree that my signature below submits me to the jurisdiction of the

United States District Court for the Northern District of Georgia, Atlanta
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Division, in which the action of Berkeley Ventures II, LLC v. Sionic Mobile

Corporation, Case No, 1:19-cv-05523-SDG is pending, and binds me to the

provisions of the Non-Sharing Protective Order, including to all promises

undertaken in the Order, as if originally agreed to by me.

         FURTHER AFFIANT SAYETH NAUGHT:




                                            Signature



County:

State:

SUBSCRIBED AND SWORN to before me

this ___ day of _______________, 20_____.




                                       2
